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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 836



   CERTIFICATION OF NO OBJECTION REGARDING FOURTH MONTHLY FEE
    APPLICATION OF BAKER & HOSTETLER LLP, AS SPECIAL LITIGATION
     AND CORPORATE COUNSEL FOR THE DEBTORS, FOR ALLOWANCE
            OF COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES INCURRED
       FOR THE PERIOD OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the fourth monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Baker & Hostetler

LLP (“Applicant”) listed on Exhibit A attached hereto. The Monthly Application was filed with

the United States Bankruptcy Court for the District of Delaware (the “Court”) on December 18,

2023. The undersigned further certifies that they have reviewed the Court’s docket in this case and

no answer, objection or other responsive pleading to the Monthly Application appears thereon.

Pursuant to the Notice of Fee Application filed with the Monthly Application, objections to the

Monthly Application were to be filed and served no later than January 8, 2024 at 4:00 p.m. (ET).

The Monthly Application was filed and served in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11



          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the “Interim

Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: January 9, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Donald J. Detweiler
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                                                         EXHIBIT A

                                                Professional Fees and Expenses
                                                   Monthly Fee Application

    Applicant          Fee Application   Total Fees     Total       Objection      Amount of Amount of         Amount of
                        Period, Filing   Requested    Expenses      Deadline:         Fees      Expenses      Holdback Fees
                          Date, D.I.                  Requested                    Authorized Authorized       Requested
                                                                                   to be Paid to be Paid at
                                                                                    @ 80%         100%
    Baker &          10/1/23 – 10/31/23 $106,814.75   $2,980.43       1/8/24       $85,451.80   $2,980.43      $21,362.95
  Hostetler LLP           D.I. 836




WBD (US) 4865-4140-2779v1
